 Fill in this information to identify your case:

 Debtor 1                 James Wilson McMeans, Jr.
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ALABAMA

 Case number           18-82525-12
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      205 Milton Rd Athens, AL 35611                                                                                             Ala. Code §§ 6-10-2, 6-10-3,
      Limestone County
                                                                     $132,540.00                                $15,000.00
                                                                                                                                 6-10-4; Const. Art. X, § 205
      Line from Schedule A/B: 1.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2001 Dodge Ram                                                                                                             Ala. Code §§ 6-10-6, 6-10-12
      Also included in secured debt-1997 T
                                                                       $5,700.00                                  $4,050.00
      2000 Kenworth with value of                                                        100% of fair market value, up to
      $4,500.00                                                                               any applicable statutory limit
      Location: 205 Milton Rd, Athens AL
      35611
      Line from Schedule A/B: 3.2

      1966 Chevrolet Truck                                                                                                       Ala. Code §§ 6-10-6, 6-10-12
      Location: 2005 Milton Rd, Athens, AL
                                                                       $2,500.00                                  $2,500.00
      35611                                                                              100% of fair market value, up to
      Line from Schedule A/B: 3.3                                                             any applicable statutory limit

      7mm Mag Rifle; 22mm pistol                                                                                                 Ala. Code § 6-10-6
      Line from Schedule A/B: 10.1
                                                                          $600.00                                   $600.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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 Debtor 1    James Wilson McMeans, Jr.                                                                   Case number (if known)     18-82525-12
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Location: 205 Milton Rd, Athens AL                                                                                           Ala. Code §§ 6-10-6, 6-10-126
     35611
                                                                         $400.00                                  $400.00
     Line from Schedule A/B: 11.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                                                                         Ala. Code § 6-10-6
     Location: 205 Milton Rd, Athens AL
                                                                         $100.00                                  $100.00
     35611                                                                             100% of fair market value, up to
     Line from Schedule A/B: 16.1                                                          any applicable statutory limit

     Checking account: Citizens Bank &                                                                                            Ala. Code § 6-10-6
     Trust
                                                                         $500.00                                  $500.00
     25530 Alabama Highway 127                                                         100% of fair market value, up to
     Elkmont, AL 35620                                                                     any applicable statutory limit
     Line from Schedule A/B: 17.1

     Corn, Wheat, Soybean                                                                                                         Ala. Code § 6-9-41
     Line from Schedule A/B: 48.1
                                                                      Unknown                                        $0.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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